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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-8332-BER


  IN RE: SEALED SEARCH WARRANT

  __________________________________________/

                                   ORDER TO UNSEAL

         I have reviewed the Government’s memorandum of law and proposed

  redactions to the search warrant Affidavit. ECF No. 89. I am fully advised in the

  entire record, including the contents of the Affidavit.

         1.     I find that the Government has met its burden of showing a compelling

  reason/good cause to seal portions of the Affidavit because disclosure would reveal (1)

  the identities of witnesses, law enforcement agents, and uncharged parties, (2) the

  investigation’s strategy, direction, scope, sources, and methods, and (3) grand jury

  information protected by Federal Rule of Criminal Procedure 6(e).          As further

  explanation for this finding, I incorporate by reference my Order on Motions to

  Unseal. ECF No. 80; see also United States v. Kooistra, 796 F.2d 1390, 1391 (11th

  Cir. 1986) (findings must be “sufficient for a reviewing court to be able to

  determine, in conjunction with a review of the sealed documents themselves, what

  important interest or interests the district court found sufficiently compelling to

  justify the denial of public access.”).

         2.     Based on my independent review of the Affidavit, I further find that the

  Government has met its burden of showing that its proposed redactions are narrowly
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  tailored to serve the Government’s legitimate interest in the integrity of the ongoing

  investigation and are the least onerous alternative to sealing the entire Affidavit.

        WHEREFORE, it is ORDERED that:

        1. The Intervenors’ Motion to Unseal [ECF No. 4] is GRANTED IN PART.

        2. On or before noon Eastern time on Friday, August 26, 2022, the

            Government shall file in the public docket a version of the Affidavit

            containing the redactions proposed in ECF No. 89-1.



        DONE and ORDERED in Chambers this 25th day of August, 2022, at West

  Palm Beach in the Southern District of Florida.




                                          ____________________________________
                                          BRUCE E. REINHART
                                          UNITED STATES MAGISTRATE JUDGE




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